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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

SAMUEL PRICE, #42151-037                           :
    Petitioner
                                                   :
           v.                                                  Civil Action No. L-09-441
                                                   :           Criminal Action No. L-05-0570

UNITED STATES OF AMERICA                           :
     Respondent

                                          MEMORANDUM

       Pending is Samuel Price’s (Price) Petition for Writ of Error Coram Nobis. Price, who is

proceeding pro se, predicates the Petition on Amendment 709 of the United States Sentencing

Guidelines. 1 The Court will deny the Petition for the reasons that follow.

                                          BACKGROUND

       The Court sentenced Price on October 15, 2007, to 210 months incarceration and five

years supervised release for conspiracy to distribute and possess with intent to distribute

narcotics in violation of 21 U.S.C. § 846. See United States v. Price, Criminal Action No. L-05-

570 (D. Md.). Amendment 709 of the United States Sentencing Guidelines relates to the

calculation of a defendant's criminal history score and went into effect on November 1, 2007.


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           Amendment 709 provides :

                If the defendant has multiple prior sentences, determine whether those
                sentences are counted separately or as a single sentence. Prior sentences
                are always counted separately if the sentences were imposed for offenses
                that were separated by an intervening arrest (i .e., the defendant is arrested
                for the first offense prior to committing the second offense). If there is no
                intervening arrest, prior sentences are counted separately unless (A) the
                sentences resulted from offenses contained in the same charging
                instrument; or the sentences were imposed on the same day. Count any
                prior sentence covered by (A) or (B) as a single sentence.

       U.S.S.G. § 4A1.2(a)(2) (2007).
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                                      DISCUSSION

                                     (i) Coram Nobis

       Coram nobis is an “extraordinary remedy” that should be used “only under circumstances

compelling such action to achieve justice.” United States v. Mandel, 862 F.2d 1067, 1075 (4th

Cir.1988).   A writ of error coram nobis is available to vacate a federal conviction only after a

sentence has been served and defendant is no longer in custody. See United States v. Morgan,

346 U.S. 502 (1954). Where, as here, a petitioner is serving his sentence, coram nobis relief is

not available. Consequently, the Court will deny the Petition.

                             (ii) Motion to Modify Sentence

       To the extent Price might intend to modify his sentence pursuant to 18 U.S.C. § 3582, a

court may reduce a defendant's term of imprisonment in the case of a defendant who has been

sentenced ... based on a sentencing range that has been subsequently lowered by the Sentencing

Commission pursuant to 28 U.S.C. § 994(o) ... “if such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2). In Section

1B1.10(a)(2) of the Guidelines, the Sentencing Commission’s policy statement provides that a

court may not modify a defendant's sentence under 18 U.S.C. § 3582 if the amendment at issue is

not listed in § 1B1.10(c):

       Exclusions: A reduction in the defendant's term of imprisonment is not consistent with
       this policy statement and is therefore not authorized under 18 U.S.C. § 3582(c)(2) if ...
       [n]one of the amendments listed in subsection (c) is applicable to the defendant....

U.S.S.G. § 1B1.10(a)(2) (May 1, 2008).

       Amendment 709 is not listed in § 1B1.10(c), Consequently, the Sentencing Commission

has not authorized resentencing under this Amendment, and the Court cannot consider it as a


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basis for reconsideration of Price’s sentence. See United States v. Godin, 522 F.3d 133, 134 (1st

Cir. 2008) (Amendment 709 has not been made to apply retroactively).

                                      CONCLUSION

       For the reasons stated herein, the Court shall deny the Petition. A separate Order shall be

entered in accordance with this Memorandum.


Dated this 9th day of March 2009.
                                                      /s/
                                             ________________________________
                                              Benson Everett Legg
                                              Chief Judge




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